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    PROBIW


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.                                              United States District Court
                                                                                                                      KANSAs
                                                                  for the                                 AUG 15 2016
                                                                                                    JAME~~~
                                                   Eastern District of Arkansas                     By:_ Jvv1NltJ!~RK

                                Request for Modifying the Conditions or Term of Supervision                          °      CU:RK
                                              With Consent of the Offender
                                              (Probation Form '9, Wal1•er ofllearlng Is Attached}

     Name of Offender:          Stephen Ray Sims                                       Case Number:   08604:11 CR00290-009
     Name of Sentencing Judicial Officer:          Honorable J. Leon Holmes
                                                   United States District Judge
     Original Offense:         Conspiracy To Possess With Intent To Distribute Oxycodone
     Date of Sentence:         January 23, 2013
     Original Sentence:        50 months Bureau of Prisons followed by 36 months supervised release

                               November 1, 2015: Sentence reduced to 40 months imprisonment, all provisions of
                               previous judgment remain in effect.

     Type of                                                   Date Supervision Commenced: December 06, 2015
     Supervision: Term Of Supervised Release                   Date Supervision Expires:       December 05, 2018
     U.S. Probation                          Asst. U.S.                               Defense
     Officer: Dwayne Ricks                   Attorney:        Stephanie Mazzanti      Attorney: To be appointed


                                                  PETITIONING THE COURT

    D            To extend the term of supervision for _ _ year(s), for a total term of _ _ years.
    181          To modify the conditions of supervision as follows:

                 The defendant will participate in a mental health program under the guidance and supervision of
                 the probation office. The defendant will pay for the cost of treatment at the rate of SlO per
                 session, with the total cost not to exceed $40 per month, based on ability to pay as determined by
                 the probation office. In the event the defendant is financially unable to pay for the cost of
                 treatment, the co-pay requirement will be waived.



                                                                 CAUSE

    On July 27, 2016, during a conversation with Mr. Sims, he indicated having issues with anxiety and ·depression
    and requested mental health counseling. On July 28, 2016, during a conversation between Assistant Federal
    Public Defonder Jenniffer Horan and Mr. Sims, Ms. Horan reviewed the modification with Mr. Sims. Ms.
    Horan agreed with the modification and advised him to sign the modification. On this same date, Mr. Sims
    signed the attached Waiver of Hearing to Modify Court Order, agreeing to participate in mental health
    treatment.
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    Prob 12B                                              -2-                            Request for Modifying the
.                                                                                Conditions or Tem1 of Supervision
                                                                                     With Consent of the Offender

    Name of Offender: Stephen Ray Sims                                      Case Number: 08604:11 CR00290-009




     D~s¥ti
     U.S. Probation Officer                                         Assistant U.S. Attorney

     Date: August 5, 2016

    Approved by:




    This fom1 is to be tiled with Criminal Docketing as a motion.


    THE COURT ORDERS:

    0 No Action
    0 ]:Re Extension of Supervision as Noted Above
    i fThe Modification of Conditions as Noted Above
    0 Other



     Honora e . Leon Holmes
     United States District Judge


     c:
          Assistant U.S. Attorney, Stephanie Mazzanti
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PROB49
(3/89)




                                 United States District Court
                                      Eastern District of Arkansas
                                  Waiver of Hearing to Modify Conditions
                       of Probation/Supervised Release or Extend Term of Supervision


    I have been advised and understand that I am entitled by law lo a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By "assistance of counsel," I understand that I have the right to be represented at the hearing by
counsel of my own choosing if [ am able to retain counsel. I also understand that I have the right to request the Court
to appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing.

    I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my
term of supervision:


The defendant will participate in a mental health program under the guidance and supervision of the probation
office. The defendant \Viii pay for the cost of treatment at the rate of $10 per session. with the total cost not to
exceed $40 per month, based on ability to pay as determined by the probation office. In the event the defendant is
financially unable to pay for the cost of treatment. the co-pay requirement will be waived.
